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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                   SAN FRANCISCO DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
                                               LIMITED’S REPLY IN SUPPORT OF
14         v.                                  APPLICATION TO SET ASIDE
                                               DEFAULT AND TO ENLARGE TIME TO
15   NSO GROUP TECHNOLOGIES LIMITED            FILE RESPONSIVE PLEADING TO
     and Q CYBER TECHNOLOGIES LIMITED,         COMPLAINT
16
                 Defendants.
17                                             Date:   April 16, 2020
                                               Time:   9:00 a.m.
18                                             Ctrm:   E
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                                               Action Filed: 10/29/2019
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      DEFENDANTS’ REPLY ISO                                         Case No. 3:19-cv-07123-JSC
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      AND TO ENLARGE TIME
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 1          Plaintiffs’ Opposition [Dkt. No. 29] attempts to do four things: (1) concur that the default

 2   should be set aside; (2) move to authorize alternate (e-mail) service; (3) argue that Plaintiffs did

 3   not mislead the Court; and (4) oppose Defendants’ request for 120 days to respond to the

 4   Complaint.

 5          Item no. 1 requires no reply. The parties are agreed that the default order was based on

 6   misrepresentations to the Court by Plaintiffs’ counsel and should never have been entered. The

 7   Court should set aside the default.

 8          With respect to item no. 2, Defendants’ opposition to Plaintiff’s cross-motion to authorize

 9   alternate service is due March 23, 2020. Defendants will not conflate that issue with the issue of

10   setting aside default and extending the time for Defendants to file a responsive pleading, as

11   Plaintiffs have attempted to do. Defendants will address Plaintiffs’ cross-motion to authorize

12   alternate service in a separately filed opposition on or before the date it is due.

13          With respect to item no. 3, Plaintiffs plainly did mislead the Court. The default order is

14 ample evidence of that. With respect to whether Plaintiffs’ attorneys misled the Court intentionally

15 or were merely reckless, their submission is incredible and raises far more questions than it answers

16 (for example, why didn’t Plaintiffs’ counsel comply with their ethical obligations to contact the

17 Court to inform them that Defendants had not been served under the Hague Convention on March

18 4? Or March 5? Or March 6?). However, Defendants will wait until Plaintiffs file their opposition

19 to Defendants’ Motion for Sanctions [Dkt. No. 28] before replying further.

20          With respect to item no. 4, Defendants submit that a period of time of at least 120 days

21 following service is reasonable for the reasons set forth in Defendants’ Application [Dkt. No. 24],

22 as supplemented by the following information.

23          1. COVID-19

24          As Defendants explained in their Application, all of their customers are sovereign nations

25   and their law enforcement and intelligence agencies. Defendants seek additional time to ascertain

26   what information, if any, may be disclosed to this Court by these sovereign nations in support of

27   Defendants’ Rule 12 motion. In light of the worldwide COVID-19 pandemic, Defendants’

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 1   sovereign-nation customers are all facing issues that are a higher priority than the issues implicated

 2   in this case. Defendants’ ability to gain this type of assistance from their customers is greatly

 3   diminished in this time of crisis.

 4           Defendants and their counsel have effectively lost the ability to meet with Defendants’

 5   customers, and Defendants and their counsel can no longer meet in person. In person meetings

 6   are necessary in light of the national security issues in this action, but international travel is

 7   becoming increasingly difficult and dangerous. And travel to and from Israel, where both

 8 Defendants are located, is basically impossible: Israel has imposed a ban on foreign nationals

 9 entering the country and a 14-day quarantine for Israeli citizens returning to Israel from outside

10   the country.1 The number of countries closing their borders is growing by the hour.

11           Given the unprecedented circumstances surrounding the global COVID-19 pandemic, an

12   enlargement of time for Defendants to respond to the complaint is warranted. The Court should

13   allow Defendants at least 120 days to file a responsive pleading, with an understanding that even

14   more time may be necessary depending on how COVID-19 affects the world in the coming months.

15           2. Israeli Political Situation

16           Israel recently held their third national election in the past twelve months. For the third

17   time, no party won a clear parliamentary majority and there is great uncertainty as to whether any

18   party will be able to form a government, which may lead to a fourth national election. As stated

19   above, if and when a new government is formed, its focus will continue to be on efforts to curb

20   COVID-19 and “flatten the curve.” As a consequence, Defendants’ ability to confer with the

21   Government of Israel about obtaining support for Defendants’ Rule 12 motion is substantially

22   diminished to the point that it is virtually nonexistent. The current political situation in Israel

23   further supports Defendants’ request for an enlargement of time to file a responsive pleading.

24           For the foregoing reasons, Defendants ask the Court to order that Defendants’ response to

25   the Complaint be due 120 days after the later of service of the Complaint or entry of the Court’s

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27     https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/israel-west-bank-and-
     gaza-travel-advisory.html.
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 1   Order, and that Defendants shall file a report with the Court 30 days prior to that date stating

 2   whether they request any additional time.

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 4   DATED: March 17, 2020                          KING & SPALDING LLP
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 6

 7                                                      By: /s/Joseph N. Akrotirianakis ___
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 8                                                         AARON S. CRAIG
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 9                                                         TECHNOLOGIES LIMITED and Q
                                                           CYBER TECHNOLOGIES LIMITED
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